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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §    CASE NO. 1:15-CR-40(1)
                                                §
JORGE LUIS MERCADO                              §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

       On June 30, 2015, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the defendant, Jorge Luis Mercado, on Count One of the

charging Indictment filed in this cause. Count One of the Indictment charges that on or about

December 1, 2014, and continuing thereafter until December 5, 2014, in the Eastern District of

Texas and elsewhere, Jorge Luis Mercado and a co-defendant, traveled in interstate commerce

from the State of Ohio to the State of Texas, with the intent to promote, manage, establish, carry

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on, and facilitate the promotion, management, establishment and carrying on of an unlawful

activity, that is, a business enterprise involving narcotics in violation of Title 21, United States

Code, Section 846, and thereafter performed and attempted to perform an act to promote,

manage, establish, and carry on, and to facilitate the promotion, management, establishment, and

carrying on of such unlawful activity, in violation of 18 U.S.C. §§ 1952(a)(3).

       Defendant, Jorge Luis Mercado, entered a plea of guilty to Count One of the Indictment

into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement and a

plea agreement addendum which was disclosed and addressed in open court, entered into the

record, and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).



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       d.       That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crime charged under 18 U.S.C.

§ 1952(a)(3).

                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, and through admissible

exhibits, each and every essential element of the crime charged in Count One of the Indictment.

The parties also stipulated that the Government would also prove that the defendant is one and the

same person charged in Count One of the Indictment and that the events described in the

Indictment occurred in the Eastern District of Texas. The Court incorporates the proffer of

evidence described in detail in the factual basis in support of the guilty plea.

       Defendant, Jose Luis Mercado, agreed with and stipulated to the evidence presented in the

factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

presented by the Government and personally testified that he was entering his guilty plea

knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate



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Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Indictment on file in this criminal

proceeding. The Court also recommends that the District Court accept the plea agreement and the

plea agreement addendum pursuant to Federal Rule of Criminal Procedure 11(c). Accordingly, it

is further recommended that Defendant, Jose Luis Mercado, be finally adjudged as guilty of the

charged offense under Title 18, United States Code, Section 1952(a)(3).

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement and any plea agreement addendum, the federal

sentencing guidelines and/or the presentence report because the sentencing guidelines are

advisory in nature.    The District Court may defer its decision to accept or reject the plea

agreement and addendum until there has been an opportunity to consider the presentence report.

See FED. R. CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise

Defendant in open court that it is not bound by the plea agreement and Defendant may have the

opportunity to withdraw the guilty plea, dependent upon the type of the plea agreement. See FED.

R. CRIM. P. 11(c)(3)(B). If the plea agreement or addendum is rejected and Defendant still

persists in the guilty plea, the disposition of the case may be less favorable to Defendant than that

contemplated by the plea agreement. Defendant has the right to allocute before the District Court

before imposition of sentence.



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                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

       A party’s failure to object bars that party from: (1) entitlement to de novo review by a

district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
.
factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

by Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

by considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                   SIGNED this the 30th day of June, 2015.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE




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